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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

ALFONSO HERNANDEZ,

        Plaintiff,

v.                                                                  Civ. 14-964

CITY OF ALBUQUERQUE,
      a Municipal Entity Organized Under
      the Laws of the State of New Mexico
      and its subsidiaries the Albuquerque
      the Albuquerque
      Police Department,

ANDY FITZGERALD,
     in his individual capacity as an security officer
     employed by the Albuquerque Transit Dept.,
     Security Div.,

AKEEM POWDRELL,
    in his individual capacity as an security officer
    employed by the Albuquerque Transit Dept.,
    Security Div.,

DANIEL GALVAN,
     in his individual capacity as an officer
     employed by the Albuquerque Police Dept.,

AMY MARKWICK,
    in her individual capacity as an officer
    employed by the Albuquerque Police Dept.,

        Defendants.

                          DEFENDANTS’ NOTICE OF REMOVAL

        Defendant Fitzgerald, by and through his counsel, Law Office of Jonlyn M. Martinez,

LLC, respectfully files this Notice of Removal in the above entitled action, and as grounds

therefore states:
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       1.       This action was originally commenced on August 14, 2014, in the Second Judicial

District Court in the County of Bernalillo for the State of New Mexico, as Cause Number D-202-

CV-2014-05396 (the "State Court Action"), and is now pending therein. The State Court Action

was initiated by a Complaint entitled “Complaint for Violations of the Tort Claims Act

And Deprivation of Civil Rights” (hereafter “Plaintiff’s Complaint”). See Plaintiff’s Complaint,

attached hereto as Exhibit A.

       2.       Defendant Fitzgerald was served with the Plaintiff’s Complaint by service on his

spouse and by mail on or about October 2, 2014.

       3.       Among other things, the Plaintiff’s Complaint alleges that the Defendants violated

the Plaintiff’s civil rights in violation of 42 U.S.C. § 1983. See Exhibit A, at ¶¶’s 11-12, Count

VII to Count X.

       4.      Consequently, the Plaintiff’s Complaint sets forth a claim or right arising under the

Constitution and laws of the United States and/or a separate and independent claim or cause of

action within the jurisdiction conferred on this Court by 28 U.S.C. § 1331. Therefore, this Court

has original jurisdiction over this action pursuant to the jurisdiction conferred on this Court by 28

U.S.C. § 1331 and the action may, therefore, be removed to this Court pursuant to 28 U.S.C. §§

1441(a), (b) and/or ( c).

       5.       No action has been taken by the Defendant in the State Court Action.

       6.       A true and correct copy of the Plaintiff’s Complaint is attached hereto as Exhibit

"A.” Pursuant to 28 U.S.C. § 1446 and D.N.M.LR-Civ. 81.1(a), a copy of all other pleadings,

process, orders, records and proceedings from the State Court Action is attached hereto as

Exhibit “B.”


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         WHEREFORE, Defendant Fitzgerald respectfully files this Notice of Removal to remove

the above entitled action from the Second Judicial District for the State of New Mexico to this

Court.
                                     Respectfully Submitted:

                                     LAW OFFICE OF JONLYN M. MARTINEZ, LLC

                                     By: /s/ Submitted electronically by
                                             JONLYN M. MARTINEZ
                                             Attorney for Defendant Grossetete
                                             P.O. Box 1805
                                             Albuquerque, NM 87103-1805
                                             (505) 247-9488


I hereby certify that a copy of the
foregoing pleading was electronically mailed
to the following on October 24, 2014:

Anna C. Martinez
Attorney for Plaintiff
P.O. Box 25304
Albuquerque, NM 87125
(505) 750-8005
anna@aequitas.pro

         /s/




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